Case 9:12-cr-80217-KLR Document 12 Entered on FLSD Docket 02/28/2013 Page 1 of 9



                           UNITED STATES DISTRICT CO URT
                           SOUTH ERN DISTRICT OF FLO RIDA

                              CaseNo.12-80217-C r-RY SAK AM P

  UNITED STATES OF AM ERICA,

  VS.

  JO HN SK EFFING TON,

                D efendant.
                                   /

                                     PLEA AGREEM ENT

         TheUnitedStatesAttorney'sOfficefortheSouthernDistrictofFloridaCçthisOffice''land
   Jolm Skeffngton(hereinaûerreferredtoasthettdefendanf')enterintothefollowingagreement:
          1.Thedefendantagreesto pleadguiltyto Counts8and 17 oftheIndictment,which charge

   him with mailfraud,in violation ofTitle 18,United StatesCode,Section 134l.

         2.ThisOfficeagreesto seek dism issalofCounts l-7,9 -16,and 18-21ofthelndictment

   aftersentencing.
         3.Thedefendantisaware thatthesentencewillbeimposed bytheCourtafterconsidering

   the advisory FederalSentencing Guidelines and Policy Statements (hereinafter çisentencing
   Guidelines'').ThedefendantacknowledgesandunderstandsthattheCourtwillcomputeanadvisory
   sentence undertheSentencing Guidelinesand thattheapplicable guidelineswillbedetermined by

   theCourtrelyinginpartontheresultsofapre-sentenceinvestigationbytheCourt'sprobationoffice,

   which investigation willcomm ence afterthe guilty plea hasbeen entered. The defendantisalso

   awarethat,undercertaincircum stances,theCourtmaydepartfrom theadvisorysentencingguideline

   range thatithascomputed,and may raiseor lowerthatadvisory sentence underthe Sentencing

   Guidelines.ThedefendantisfurtherawareandunderstandsthattheCourtisrequired to consider
Case 9:12-cr-80217-KLR Document 12 Entered on FLSD Docket 02/28/2013 Page 2 of 9



 thtadvisoryguidelinerangedeterm inedundertheSentencingGuidelines,butisnotboundtoimpose

  asentencewithin thatadvisoryrange;theCourtispermitted totailortheultim atesentence inlight

  ofotherstatutory concerns,and such sentence may beeithermoresevere orless severethan the

  Sentencing Guidelines' advisory range. Knowing these facts,the defendant understands and

  acknowledgesthattheCourthastheauthoritytoimposeany sentencewithin and uptothestatutory

 m aximum authorizedby1aw fortheoffenseidentisedinparagraph 1andthatthedefendantmaynot

  whhdraw thtpleasolely asaresultofthe sentence imposed.

        4.Thedefendantalso understandsand acknowledgesthat,asto each count,thtCourtm ay

 impose a statutoly m axim tun term ofimprisonm entofup to twenty years,followed by a term of
                                                       .        '   '   '   'O


 supervisedreleaseofuptothreeyears.Inadditionto aterm ofimprisonmentand supervisedrelease,
             *               .



 the Courtmay impose afine ofup to $250,000 ortwicethe grossgain orlossresulting from the

 offense,whicheverisgreater,and mustorderrestitution.Thedefendantagreestopay$537,556.92
                                                                                 %   a-- v......w-. .x

 restitutippto thevictim softhisoffense.
         .




        5. The defendantfurtherunderstandsand acknowledgesthat,in addition to any sentence

 imposed underparagraph 4 ofthisagreement,a specialassessm entin thenm ountof$200 willbe
 imposedon thedefendant.Thedefendantagreesthatany specialassessm entimposedshallbepaid

 atthe tim e ofsentencing. Ifa defendantisfinancially unable to pay the specialassessment,the

 defendantagreestopresentevidenceto thisOftk eand theCourtatthetim eofsentencingastothe

 reasonsforthedefendant'sfailureto pay.

        6. ThisOffce reservestherightto inform the Courtand the probation ofice ofa11facts

 pertinentto the sentencing process,including a11relevantinform ation concerning the offenses

 committed,whether charged or not,as wellas concerning the defendant and the defendant's


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Case 9:12-cr-80217-KLR Document 12 Entered on FLSD Docket 02/28/2013 Page 3 of 9



  background. Subjectonly to theexpresstermsofanyagreed-upon sentencingrecommendations
  contained in thisagreement,thisOfficefurtherreservestheHghtto m ake any recommendation as

  to thequality and quantity ofpunishment.

        7.TheUnited Statesagreesthatitwillrecomm end atsentencing thatthe Courtreduceby

  two levelsthe sentencingguidelinelevelapplicabletothedefendant'soffense,pursuantto Section

  3E1.1(a)oftheSentencingGuidelines,baseduponthedefendant'srecognitionandaftirmativeand
  timely acceptance ofpersonalresponsibility.Ifatthe time ofsentencing the defendant'soffense

  levelisdeterm ined to be 16 orgreater,thegovernmentwillfileam otion requesting an additional

  one leveldecreasepursuantto Section 3E1.1(b)ofthe Sentencing Guidelines,stating thatthe
  defendant has assisted authorities in the investigation or prosecution of the defendant's own

  misconductby timely notifying authoritiesofthe defendant's intention to entera plea ofguilty,

 therebyperm ittingthegovernmentto avoid preparing fortrialand permitting thegovernmentand

 theCourttoallocatetheirresom cesefficiently.TheUnitedStates,however,willnotberequiredto

 makethismotionand this recommendationsifthedefendant:(1)failsorrefusestomakea111,
 accurate and complete disclosure to the probation office ofthe circum stances surrounding the

 relevantoffenseconductandthedefendant'sfinancialstatus;(2)isfoundtohavemisrepresented
  factstothegovemmentpriortoentering intothispleaagreement;or(3)commitsanymisconduct
 aherentering into thispleaagreement,including butnotlimited to comm itting a state orfederal

 offense,violating any tenn ofrelease,ormaking false statements orm isrepresentations to any

 governm entalentityorofficial.




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Case 9:12-cr-80217-KLR Document 12 Entered on FLSD Docket 02/28/2013 Page 4 of 9



        8.ThisOfficeand thedefendantagreethat,although notbinding on theprobationoffkeor

  theCourt,theywilljointlyrecommendthattheCourtmakethefollowingfindingsandconclusions
  asto thesentence to beimposed:
         a.       Base Offense Level:That the base offense level is seven,pursuant to Section

  28 l.1(a)(1);
         b.       Loss:Thattherelevantam ountofactual,probableorintendedlossresultingfrom the

  offenseismorethan $400,000,butnotmorethan $1million,which resultsin an fourteenlevel

  enhancementpursuanttoSection2B1.1(b)(1)(H)oftheSentencingGuidelines;and
                  NumberofVictim s:Thattheoffenseinvolved 10orm orevictim s,whichresultsin

  atwo-levelenhancement,pursuanttoSection2B1.1(B)(2)(A).
              The defendantisaware thatTitle 18,United StatesCode,Section 3742 and Title 28,

  United StatesCode,Section 1291afford thedefendanttherightt              sentence imposed in

  thiscase.Acknowledgingthis,in exchangefortheundertakingsmadeby theUnited Statesin this

  plea agreement,the defendanthereby waivesal1rightsconferred by Sections 3742 and 1291 to

  appealany sentenceim posed,including anyrestitution order,orto appealthem nnnerin which the

  sentencewasimposed,tmlessthesentenceexceedsthem axim um permittedbystatuteoristheresult

  ofanupwarddepartureand/oranupward variancefrom theadvisoryguidelinerangethattheCourt

  establishesatsentencing.Thedefendanttmderstandsthatnothing inthisagreem entshallaffecttht

  government'srightand/ordutytoappealassetforthinTitle18,UnitedStatesCode,Section3742(b)
  and Title 28,United States Code,Section 1291. However,if the United States appeals the

  defendant'ssentencepttrsuanttoSections3742(b)and 1291,thedefendantshallbereleasedfrom
  theabovewaiverofappellaterights.By signing thisagreem ent,thedefendantacknowledgesthat

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    Case 9:12-cr-80217-KLR Document 12 Entered on FLSD Docket 02/28/2013 Page 5 of 9



      the defendanthas discussed the appealwaiver setforth in this agreem entwith the defendant's

      attorney. The defendantfurtheragrees,togetherwith the United States,to requestthatthe Court

      entera specitk finding thatthedefendant'swaiverofthe defendant'srightto appealthesentence

      to beimposed in thiscasewasknowing and voluntary.

             10.Thedefendantisawarethatthesentencehasnotyetbeen determinedbytheCourt.The

      defendantalso isaware thatany estim ate of the probable sentencing range or sentence thatthe

      defendantm ayreceive,whetherthatestim atecom esfrom thedefendant'sattorney,thegovem m ent,

      ortheprobation office,isaprediction,notaprom ise,and isnotbinding on the governm ent,the

     probation officeortheCourt.Thedefendantunderstandsfurtherthatanyrecomm endation thatthe

     governmentm akesto the Courtasto sentencing,whetherpursuantto thisagreem entorotherwise,

     isnotbinding on theCourtand the Courtmay disregard the recom mendation in itsentirety. The

     defendanttmderstandsand acknowledges,aspreviouslyacknowledged inparagraph 2 above,that

     thedefendantmay notwithdraw hispleabasedupontheCourt'sdecisionnottoacceptasentencing

     recommendationmadebythedefendant,thegovernment,or a recommendation madejointlyby
     both thedefendantand the governm ent.

            13.Thisistheentire agreem entandunderstanding betweenthisOfficeand thedefendant.

     Thereareno otheragreem ents,promises,representations,orunderstandings.



                                               W IFREDO A.FERRER
                                               UNITED STATES ATTORNEY


     Ilate: â/JJJa                         By:
                                              AD RIEN NE M BIN O     Z
                                              ASSISTA N T UN ITED STA TES A TTO RN EY


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Case 9:12-cr-80217-KLR Document 12 Entered on FLSD Docket 02/28/2013 Page 6 of 9




         lhaveread andcarefully reviewedeverypartofthisAgreem entw ithm yattom ey      ,and
  voluntarilyagreetoitsterm s.No onehastilreatenedorcoerced meinanyway into enteringintothis
  A greem ent.
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  Date; /I -%e- I '
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                                              JOHNs FFINGTO '
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                                              DEFENDA T     $1


        1,        ,
                   Gam the attorney forJohn Skeffington. lhave explained to him thetermsand
  conditionssetforth aboveand aresatisfied thatheunderstandsand agreesto them .

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                                              ATTORNEY FOR DEFENDANT




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.*   Case 9:12-cr-80217-KLR Document 12 Entered on FLSD Docket 02/28/2013 Page 7 of 9




                                  UNITED STATES DISTRICT COURT
                                  SOUTH ERN DISTRICT O F FLO RIDA

                                      CaseN o.12-80217-Cr-RY SA K AM P



       UNITED STATES OF AM ERICA,

       VS.

        JOHN SKEFFINGTON,

                        D efendant.
                                           /
                            FACTUA L BASIS IN SUPPORT OF GUILTY PLEA

               If this case had proceeded to trial,the Governm ent would have established beyond a
        reasonabledoubtthatdefendantJolm Skeffington did knowingly,andwith intenttodefraud,devise
        and intend to devise a schem e and artifice to defraud,and forobtaining m oney and property by
        m eansofmateriallyfalseandfraudulentpretenses,representationsand prom ises,wellknowingthat
        thepretenses,representationsandprom iseswouldbeand werefalseand fraudulentwhen made,and
        forthepurposeofexecuting said scheme did knowinglycauseto bedelivered by theUnited States
        PostalServicecertainm ailmatteraccording to thedirectionsthereon.

               Theelementsformailfraud areasfollow s:
               First-          Thatthedefendantknowinglydevisedorparticipatedinaschemetodefraud
                               someone,orobtain m oney orproperty,using false offraudulentpretenses,
                               representations,orpromises;

               Second:         Thatthe false or fraudulent pretenses,representations,or prom ises were
                               aboutam aterialfact;

               Third:          Thatthedefendantacted with intentto defraud;and
               Fourth:         That the defendant used a private or comm ercial interstate carrier by
                               depositing orcausing to be deposited with the carriersomething m eantto
                               help carry outthe schemeto defraud.
A r'*Case   9:12-cr-80217-KLR Document 12 Entered on FLSD Docket 02/28/2013 Page 8 of 9



            To prove that the defendant committed the offenses charged in the lndictment, the
      Governmentwould establish beyond areasonabledoubtthefollowing evidence:


               lnFebruary2007,defendantJohnSkeffingtonandhiswifeobtaineda$1.4m illionloanfrom
      Liberty Bank in Highland,,Arkansas,to purchase and develop 880 acresofundeveloped property
      known asDeerRunandM ountainValleyLakes,locatedin Sharp County,in the EasternDistrictof
      Arkansas.Thedefendantclaim edhewasgoingto subdividetheproperty and offerthelotsforsale.
      Accordingtotheterm sofhisbank loan,thedefendantwasnotperm itted to sellanyofthelotsuntil
      hehad paid thebank aspecised amountofmoney to release them ortgageon thoselots.

              ln April2007,thedefendant,doingbusinessasArkansasLakes,LLC,began marketing the
      lotsforsale within theUnited Statesand intem ationally. The defendantrepresented thathe was
      selling the lots free from al1encum brances and would provide the buyers with warrant.y deeds.
      However,thedefendanthad notrepaid thebank forany ofthelots,asrequired by theterm softhe
      loan agreement,and therefore had notobtained the release ofm ortgages. Nonetheless,between
      April2007andM arch2009,thedefendantsoldnum erouslots,representingthattheywerefreefrom
       allencllmbrances,when,in fact,theywerestillsubjecttothemortgages.Toconcealthefactthat
       the lots were notfree from al1encumbrances,the defendantcaused false warranty deeds to be
       prepared forthepurchasers,which deedsfalselyrepresented thatthedefendanthad cleartitletothe
       lots,thathehad fullrightsto convey them ,andthatthelotwerefreefrom allencumbrances.The
       defendant signed the false and fraudulentdeeds,which were notarized by an Arkansas Lakes
       employee,and then caused them to be sentfrom ArkansasLakes,LLC,in Florida,to the Sharp
       CountyClerk'soffke in Sharp County Arkansas,wherethey wererecorded and stnmpedand then
       m ailed by theUnited StatesPostalService to the defendant'soffke in Florida.

              Dlzringthecourseoftheschem e,which spanned from April2007 through M arch 2009,the
       defendantsoldatotalof238lotsto47buyerslocatedinArkansas,Florida,theUnitedKingdom and
       elsewhere,collectingatotal$465,000. In each instance,thedefendanthad falsely representedthat
       thelotswere free from al1encumbrances,whenin facttheywerenot.Forthepurpose ofexecuting
       thescheme,on the datessetforth in Counts8 and 17 ofthe Indictm ent,in the Eastern Districtof
       Arkansas,and elsewhere,thedefendantcausedtheUnited StatesPostalServicetodeliveraccording
       to theaddressesthereon the false and fraudulentwarranty deedssetforth forthose counts.


               W ifredo A .Ferrer
               U nited StatesA ttorney

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       g y:                      ' z
               Adrienne Rabinowitz
                                                            Alaths
                                                            Datl
               A ssistantU nited StatesA ttorney


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#   Case 9:12-cr-80217-KLR Document 12 Entered on FLSD Docket 02/28/2013 Page 9 of 9




      lhaveread and reviewed withm yattorneytheabovestatementoffactsand stipulate thatthefacts
      are true and correct.




      John S e fington
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                                                     D ate
                                                                  /s
      Defend




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       CounselforD fe dant
